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                Exhibit A
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                                                                print time：104/01/20 08:47
 Article No Search
 Title          Company Act
 Amended Date   2013.01.30
                Article 23    I. The responsible person of a company shall have the loyalty and shall
                              exercise the due care of a good administrator in conducting the
                              business operation of the company; and if he/she has acted contrary to
                              this provision, shall be liable for the damages to be sustained by the
                              company there-from.
                              II. If the responsible person of a company has, in the course of
                              conducting the business operations, violated any provision of the
                              applicable laws and/or regulations and thus caused damage to any other
                              person, he/she shall be liable, jointly and severally, for the damage
                              to such other person.
                              III. In case the responsible person of a company does anything for
                              himself/herself or on behalf of another person in violation of the
                              provisions of Paragraph 1, the meeting of shareholders may, by a
                              resolution, consider the earnings in such an act as earnings of the
                              company unless one year has lapsed since the realization of such
                              earnings.




http://law.moj.gov.tw/eng/LawClass/LawSearchNo_print.aspx?PC=J0080001&DF=&SNo... 1/19/2015
